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                 Entered on Docket
                 March
                    5 03, 2016
             ___________________________________________________________________
                          6    Jeffrey L. Hartman, Esq., #1607
                               HARTMAN & HARTMAN                                          E-LODGED 3/3/16
                          7    510 West Plumb Lane, Suite B
                               Reno, Nevada 89509
                          8    Telephone: (775) 324-2800
                               Fax: (775) 324-1818
                          9    notices@bankruptcyreno.com
                        10     Attorney for Jeri Coppa-Knudson, Trustee
                        11                               UNITED STATES BANKRUPTCY COURT
                        12                                       DISTRICT OF NEVADA
                        13
                        14     IN RE:                                       CASE NO.      BK-N-14-50331-BTB
                                                                            CHAPTER       7
                        15     AT EMERALD, LLC.
                                                                            ORDER APPROVING STIPULATION TO
                        16                     Debtor.                      EXTEND PERIOD OF LIMITATIONS
                        17                                                  Hearing Date: N/A
                                                                            Hearing Time:
                        18                                              /
                        19              The matter came before the Court on a Stipulation To Extend Period Of Limitations
                        20     (“Stipulation”) by and between Jeri Coppa-Knudson, chapter 7 trustee (‘Trustee”) and John
                        21     Beach, as trustee of the Beach Living Trust (the “Beach Trust”). Based upon the terms of
                        22     the Stipulation and agreement of the parties thereto, and good cause appearing,
                        23              IT IS ORDERED that the Stipulation is approved and the Trustee shall have until
                        24     August 31, 2016 to commence an avoidance action against the Beach Trust.
                        25     HARTMAN & HARTMAN                                   HOLLAND & HART
                        26
                               /S/Jeffrey L. Hartman                               /S/ Timothy Lukas
                        27     Jeffrey L. Hartman, Esq. for                        Timothy Lukas, Esq. for
                               Jeri Coppa-Knudson, Trustee                         John Beach as Trustee of the
                        28                                                         Beach Living Trust
    Hartman & Hartman
510 West Plumb Lane, Ste. B
   Reno, Nevada 89509
      (775) 324-2800
